                   Case 19-11466-MFW      Doc 3116      Filed 11/16/21       Page 1 of 1




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                              )   Chapter 11
                                                    )
CENTER CITY HEALTHCARE, LLC d/b/a                   )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                   )
al.,                                                )   Jointly Administered
                                                    )
                               Debtors.             )   Related to Docket Nos. 3002, 3051, 3053, 3055,
                                                        3057 3061 and 3114
                                                    )

                      ORDER APPROVING STIPULATION REGARDING
                  COMFORT / LIFT STAY MOTION AND DISCOVERY MOTIONS

           Upon consideration of the Stipulation Regarding Comfort / Lift Stay Motion and Discovery

  Motions (the “Stipulation”), a copy of which is attached hereto as Exhibit 1; and the Court having

  determined that good and adequate cause exists for approval of the Stipulation; and the Court

  having determined that no further notice of the Stipulation must be given; it is hereby ORDERED

  that the Stipulation is hereby APPROVED.




 Dated: November 16th, 2021                          MARY F. WALRATH
 Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE


  39248854.6 11/16/2021
